   Case 8:12-cv-00831-JVS-MLG                  Document 40       Filed 06/18/13     Page 1 of 2 Page ID
                                                     #:199
                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 12-0831 JVS (MLGx)                                        Date   June 18, 2013

 Title             Essociate, Inc. v. Eagle Web Assets, Inc.


 Present: The                    James V. Selna
 Honorable
                         Karla J. Tunis                                       Not Present
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present
 Proceedings:           (In Chambers)          Order Granting Daniel F. Van Woerkom and Stephens
                                               Friedland LLP’s Motion to Withdraw as Counsel

      This action stems from a patent action brought by Plaintiff Essociate, Inc. against
Defendant Eagle Web Assets, Inc. and EWA Network, Inc. (collectively, “Defendants”).
Defendants’ counsel Daniel F. Van Woerkom and Stephens Friedland LLP (collectively,
“Attorneys”) move to withdraw as counsel on the grounds that Defendants have failed to
communicate with Attorneys, making it impossible for Attorneys to effectively represent
Defendants. (Motion to Withdraw (“Motion”), Docket No. 36; Declaration of J. Gregory
Dyer (“Dyer Decl.”) ¶ 9, Docket No. 36-1). The motion is unopposed. The Court
GRANTS the motion for the reasons set forth below.

       Local Rule 83-2.9.2.1 provides that an attorney may withdraw as counsel only with
leave of the Court. Counsel must give sufficient notice, and if the party is a corporation,
there must be written notice that the party is unable to represent itself pro se. Local Rule
83-2.9.2.1; Local Rule 83-2.9.2.3. Finally, a withdrawal is not proper “[u]nless good
cause is shown and the ends of justice require, no substitution or relief of attorney will be
approved that will cause delay in prosecution of the case to completion.” Local Rule 83-
2.9.2.4.


      In March 2013, Attorneys discovered through an online blog on Defendants’
website that Defendants had ceased operations.1 (Dyer Decl., ¶ 4). Attorneys attempted to


         1
         The Illinois Secretary of State website states that while Eagle Web Assets, Inc. is not in good
standing while EWA Network, Inc. is still active. See http://www.ilsos.gov/corporatellc/ (search “Eagle
Web Assets” and “EWA Network”) (last visited June 13, 2013).
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                   Page 1 of 2
   Case 8:12-cv-00831-JVS-MLG          Document 40       Filed 06/18/13         Page 2 of 2 Page ID
                                             #:200
                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
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communicate with Defendants on multiple occasions through phone calls and text
messages, but Defendants did not respond. (Id. ¶ 5). On May 10, Attorneys sent a letter to
Defendants stating that Attorneys were withdrawing from the case and asking that
Defendants contact them. (Id. ¶ 6). Another letter was sent to Defendants on May 22,
2013, which notified Defendants that because they are corporations, they cannot
represent themselves or appear pro se. (Id. ¶ 8). Attorneys have served this motion and
notice of motion on Defendants. (Id.). Defendants still have not contacted Attorneys. (Id.
¶ 7).


       The Court finds that Attorneys provided Defendants with sufficient notice and
satisfied L. R. 83-2.9.2.1. The Court also finds that Defendants failure to communicate
with Attorneys constitutes good cause to withdraw as counsel. Defendants’ non-
responsiveness has broken down the attorney-client relationship and made it nearly
impossible for Attorneys to effectively represent Defendants. (Dyer Decl., ¶ 9).
Defendants have not responded to phone calls, text messages, or letters from Attorneys
for over a month. (Id. ¶ 7). Finally, the Court does not believe that withdrawal will
prejudice the parties or delay the prosecution, despite a Markman hearing currently
scheduled for July 22, 2013. Discovery does not close until September 24, 2013,
providing Defendants with sufficient time to attain new counsel.


      Good cause appearing, Attorneys’ Motion is GRANTED. Defendants shall appear
through new counsel within 45 days.


      The Court finds that oral argument would not be helpful on this matter, and
therefore VACATES the June 24, 2013 hearing. Fed. R. Civ. P. 78; Local Rule 7-15. The
Court hereby orders Attorneys relieved as attorneys of record for Defendants.


         IT IS SO ORDERED.
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                                                       Initials of Preparer      kjt




CV-90 (06/04)                          CIVIL MINUTES - GENERAL                                         Page 2 of 2
